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14
                                UNITED STATES DISTRICT COURT
15
                              NORTHERN DISTRICT OF CALIFORNIA
16                                 SAN FRANCISCO DIVISION

17    In re: CATHODE RAY TUBE (CRT)                     Master File No. 3:07-md-05944-SC (N.D.
      ANTITRUST LITIGATION                              Cal.)
18
                                                        MDL No. 1917
19
       This Document Relates to:
20                                                      [PROPOSED] ORDER DENYING
      Best Buy Co., Inc. v. Hitachi, Ltd.,              DEFENDANTS’ JOINT MOTION TO
21    No. 11-cv-05513;                                  EXCLUDE CERTAIN EXPERT
                                                        TESTIMONY OF PROFESSOR KENNETH
22    Best Buy Co., Inc. v. Technicolor SA,             ELZINGA
      No. 13-cv-05264;
23
      CompuCom Sys., Inc. v. Hitachi, Ltd.,
24     No. 11-cv-06396;
25
      Costco Wholesale Corp. v. Hitachi, Ltd.,
26     No. 11-cv-06397;

27    Dell Inc. and Dell Products L.P., v. Hitachi,
      Ltd., No. 13-cv-02171;
28

     [PROPOSED] ORDER DENYING DEFENDANTS’                                MASTER FILE NO. 3:07-CV-05944-SC
     MOTION TO EXCLUDE CERTAIN TESTIMONY OF DR. ELZINGA                                     MDL NO. 1917
           Case 4:07-cv-05944-JST Document 3404-19 Filed 01/16/15 Page 2 of 3



 1   Electrograph Sys. v. Hitachi, Ltd.,
     No. 11-cv-01656;
 2

 3   Electrograph Sys., Inc. v. Technicolor SA,
     No. 13-cv-05724;
 4
     Interbond Corp. of Am. v. Hitachi, Ltd.,
 5   No. 11-cv-06275;

 6   Interbond Corp. of Am. v. Technicolor SA,
     No. 13-cv-05727;
 7
     Office Depot, Inc. v. Hitachi Ltd.,
 8   No. 11-cv-06276;
 9
     Office Depot, Inc. v. Technicolor SA,
10   No. 13-cv-05726;

11   P.C. Richard & Son Long Island Corp. v.
     Hitachi, Ltd., No. 12-cv-02648;
12

13   P.C. Richard & Son Long Island Corp. v.
     Technicolor SA, No. 13-cv-05725;
14
     Sears, Roebuck and Co. and Kmart Corp. v.
15   Chunghwa Picture Tubes, Ltd.,
     No. 11-cv-05514;
16
     Tech Data Corp. v. Hitachi, Ltd., No. 13-cv-
17
     00157;
18
     ViewSonic Corp. v. Chunghwa Picture Tubes,
19   Ltd., No. 14-02510.

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     [PROPOSED] ORDER DENYING DEFENDANTS’                   MASTER FILE NO. 3:07-CV-05944-SC
     MOTION TO EXCLUDE CERTAIN TESTIMONY OF DR. ELZINGA                        MDL NO. 1917
           Case 4:07-cv-05944-JST Document 3404-19 Filed 01/16/15 Page 3 of 3



 1                                       [PROPOSED] ORDER
 2         Upon consideration of the Direct Action Plaintiffs’ Response in Opposition to Defendants’
 3   Motion to Exclude Certain Testimony of Professor Kenneth Elzinga, it is hereby ORDERED:
 4   Defendants’ Motion to Exclude Certain Testimony of Professor Kenneth Elzinga is DENIED.
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 6   Dated: ___________________, 2015
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 8                                              The Honorable Samuel Conti
                                                Northern District of California
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     [PROPOSED] ORDER DENYING DEFENDANTS’                            MASTER FILE NO. 3:07-CV-05944-SC
     MOTION TO EXCLUDE CERTAIN TESTIMONY OF DR. ELZINGA                                 MDL NO. 1917
